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EXHIBIT 8'

(Restructuring Transactions)

' The Debtors expressly reserve the right to supplement, modify or amend this documentat any time prior to the
Effective Date.
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DRAFT
SUBJECT TO CHANGE

EXHIBIT 8
RESTRUCTURING TRANSACTIONS

The table below contains a list of the restructuring transactions (the “Restructuring Transactions”) to be
consummated pursuant to Section 5.12 of the Joint Plan of Reorganization for Neenah Enterprises, Inc. and Its
Subsidiaries (the “Plan”).' Appendix 8-A to this Exhibit 8 sets forth the organizational structure of Neenah
Enterprises, Inc. and its subsidiaries (collectively, the “Debtors”) as of June 14, 2010, and Appendix 8-B to this
Exhibit 8 sets forth the organizational structure of the Debtors after giving effect to the Restructuring
Transactions. It is anticipated that the Debtors will (i) begin entering into the Restructuring Transactions
following the Confirmation Date and (ii) complete all of the Restructuring Transactions on or prior to the date
on which the Plan becomes effective.

The Restructuring Transactions include the following:

> Neenah Foundry Conversion. The conversion of Neenah Foundry Company from a Wisconsin
corporation into a Delaware corporation.”

> Shell Entity Mergers. The merger of Cast Alloys, Inc. with and into Neenah Foundry Company and the
mergers of Belcher Corporation and Peerless Corporation with and into Advanced Cast Products, Inc.

‘Restructuring Transactions"

Entity ~. | Jurisdiction |= Parent == |. Ss Transaction

I, Conversion into Delaware Corporation
1. Neenah Foundry Wisconsin NFC Castings, Convert into a Delaware corporation
Company Inc. named Neenah Foundry Company

Il, Shell Entity Mergers

2. Cast Alloys, Inc. California Neenah Foundry | Merge with and into Neenah Foundry
Company Company

3. Belcher Corporation Delaware Advanced Cast | Merge with and into Advanced Cast
Products, Inc. Products, Inc.

4, Peerless Corporation Ohio Advanced Cast | Merge with and into Advanced Cast
Products, Inc. Products, Inc.

Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.
? See also Section 5.4(b) of the Plan.

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Legend

REXs4“Q“q“3

Ren Merged mes p—enity Converted

RR [Corporation —]

Neenah Transport,

Neenah Enterprises, Inc.

Pre-Emergence

Organization Chart

Neenah Enterprises,
Inc, (DE)

NFC Castings, Inc.
(DE)

[Neenah Foundry——
|. Company (WI)

. Inc. WI

Deeter Foundry, Inc.

(NE)

NS
ee

A&M Specialties, Mercer Forge

Gregg Industries,
Inc. (CA)

Inc. (PA) Corporation (DE)

Morgan's Welding,
Inc. (PA)

Advanced Cast
Products, Inc. (DE)

SSX. 3“3@“q

Belcher meposton

Ruy

WW

Peerless

Nomen
Qa

(OHS

Appendix 8-A

Dalton Corporation,

Stryker Machining
Facility Co. (OH)

Dalton Corporation,
Ashland

Dalton Corporation
(IN)

Manufacturing
Facility (OH)

Dalton Corporation,
Warsaw

Manufacturing
Facility (IN)

Dalton Corporation,
Kendallville

Manufacturing
Facility (IN)

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Appendix 8-B
Neenah Enterprises, Inc.
Post-Emergence
Organization Chart

Neenah Transport,

Inc. (WI)

Neenah Enterprises,
Inc. (DE)

NFC Castings, Inc.
(DE)

Neenah Foun dry
Company (DE)

A & M Specialties,
Inc. (PA)

Mercer Forge
Corporation (DE)

Deeter Foundry, Inc.
(NE)

Gregg Industries,
Inc, (CA)

Morgan’s Welding,
Inc. (PA)

Advanced Cast
Products, Inc. (DE)

Dalton Corporation,

Stryker Machining
Facility Co. (OH)

Dalton Corporation,
Ashland

Dalton Corporation
(IN)

Manufacturing
Facility (OH)

Dalton Corporation,
Warsaw

Manufacturing
Facility (IN)

Dalton Corporation,
Kendallville

Manufacturing
Facility (IN)

